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                         UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

ANNIE R. PAYNE,

Plaintiff,                                                 Case No. 4:18-cv-02353

         v.                                            Honorable Judge Gray H. Miller

MRS ASSOCIATES, INC.,

Defendant.

                                NOTICE OF SETTLEMENT

         PLEASE TAKE NOTICE that ANNIE R. PAYNE (“Plaintiff”), hereby notifies the Court

that Plaintiff and Defendant MRS ASSOCIATES, INC., have settled all claims between them in

this matter and are in the process of completing the final closing documents and filing the

dismissal.



Respectfully submitted this 29th day of May, 2019.

                                                       Respectfully submitted,

                                                       s/ Alexander J. Taylor
                                                       Alexander J. Taylor
                                                       Sulaiman Law Group, Ltd.
                                                       2500 S. Highland Avenue, Suite 200
                                                       Lombard, IL 60148
                                                       Phone: (630) 575-8181
                                                       ataylor@sulaimanlaw.com
                                                       Attorney for Plaintiff




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                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

record.


                                                              s/ Alexander J. Taylor_____
                                                              Alexander J. Taylor




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